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 1     CENTER FOR DISABILITY ACCESS
       Amanda Seabock, Esq., SBN 289900
 2     Prathima Price, Esq., SBN 321378
       Dennis Price, Esq., SBN 279082
 3     Mail: 8033 Linda Vista Road, Suite 200
       San Diego, CA 92111
 4     (858) 375-7385; (888) 422-5191 fax
       amandas@potterhandy.com
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       Attorneys for Plaintiff
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 8                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
 9
10     Scott Johnson,                            Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       LLT Trading, LLC, a California            Act; Unruh Civil Rights Act
14     Limited Liability Company; and
       Does 1-10,
15               Defendants.
16
17         Plaintiff Scott Johnson complains of LLT Trading, LLC, a California
18   Limited Liability Company; and Does 1-10 (“Defendants”), and alleges as
19   follows:
20
21
22     PARTIES:

23     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a

24   level C-5 quadriplegic. He cannot walk and also has significant manual

25   dexterity impairments. He uses a wheelchair for mobility and has a specially

26   equipped van.

27     2. Defendant LLT Trading, LLC owned the real property located at or

28   about 2380 S 10th St, San Jose, California, between January 2020 and March


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 1   2020.
 2     3. Defendant LLT Trading, LLC owns the real property located at or about
 3   2380 S 10th St, San Jose, California, currently.
 4     4. Plaintiff does not know the true names of Defendants, their business
 5   capacities, their ownership connection to the property and business, or their
 6   relative responsibilities in causing the access violations herein complained of,
 7   and alleges a joint venture and common enterprise by all such Defendants.
 8   Plaintiff is informed and believes that each of the Defendants herein,
 9   including Does 1 through 10, inclusive, is responsible in some capacity for the
10   events herein alleged, or is a necessary party for obtaining appropriate relief.
11   Plaintiff will seek leave to amend when the true names, capacities,
12   connections, and responsibilities of the Defendants and Does 1 through 10,
13   inclusive, are ascertained.
14
15     JURISDICTION & VENUE:
16     5. The Court has subject matter jurisdiction over the action pursuant to 28
17   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
18   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
19     6. Pursuant to supplemental jurisdiction, an attendant and related cause
20   of action, arising from the same nucleus of operative facts and arising out of
21   the same transactions, is also brought under California’s Unruh Civil Rights
22   Act, which act expressly incorporates the Americans with Disabilities Act.
23     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
24   founded on the fact that the real property which is the subject of this action is
25   located in this district and that Plaintiff's cause of action arose in this district.
26
27     FACTUAL ALLEGATIONS:
28     8. Plaintiff went to the property to visit Famiere in January 2020, February


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 1   2020 and March 2020 (three times) with the intention to avail himself of its
 2   goods or services motivated in part to determine if the defendants comply with
 3   the disability access laws.
 4     9. Famiere is a facility open to the public, a place of public
 5   accommodation, and a business establishment.
 6     10. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
 7   to provide wheelchair accessible parking in conformance with the ADA
 8   Standards as it relates to wheelchair users like the plaintiff.
 9     11. Famiere provides parking to its customers but fails to provide
10   wheelchair accessible parking.
11     12. One problem that plaintiff encountered is that there were slopes in the
12   parking space reserved for persons with disabilities that exceeded 2.1%.
13     13. Plaintiff believes that there are other features of the parking that likely
14   fail to comply with the ADA Standards and seeks to have fully compliant
15   parking available for wheelchair users.
16     14. On information and belief the defendants currently fail to provide
17   wheelchair accessible parking.
18     15. Additionally, on the dates of the plaintiff’s visits, the defendants failed
19   to provide wheelchair accessible entrance door hardware in conformance with
20   the ADA Standards as it relates to wheelchair users like the plaintiff.
21     16. Famiere provides entrance door hardware to its customers but fails to
22   provide wheelchair accessible entrance door hardware.
23     17. One problem that plaintiff encountered is that the entrance door
24   hardware had a panel-style handle.
25     18. Plaintiff believes that there are other features of the door hardware that
26   likely fail to comply with the ADA Standards and seeks to have fully compliant
27   door hardware available for wheelchair users.
28     19. On information and belief the defendants currently fail to provide


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 1   wheelchair accessible entrance door hardware.
 2     20. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 3   personally encountered these barriers.
 4     21. As a wheelchair user, the plaintiff benefits from and is entitled to use
 5   wheelchair accessible facilities. By failing to provide accessible facilities, the
 6   defendants denied the plaintiff full and equal access.
 7     22. The failure to provide accessible facilities created difficulty and
 8   discomfort for the Plaintiff.
 9     23. The defendants have failed to maintain in working and useable
10   conditions those features required to provide ready access to persons with
11   disabilities.
12     24. The barriers identified above are easily removed without much
13   difficulty or expense. They are the types of barriers identified by the
14   Department of Justice as presumably readily achievable to remove and, in fact,
15   these barriers are readily achievable to remove. Moreover, there are numerous
16   alternative accommodations that could be made to provide a greater level of
17   access if complete removal were not achievable.
18     25. Plaintiff will return to Famiere to avail himself of its goods or services
19   and to determine compliance with the disability access laws once it is
20   represented to him that Famiere and its facilities are accessible. Plaintiff is
21   currently deterred from doing so because of his knowledge of the existing
22   barriers and his uncertainty about the existence of yet other barriers on the
23   site. If the barriers are not removed, the plaintiff will face unlawful and
24   discriminatory barriers again.
25     26. Given the obvious and blatant nature of the barriers and violations
26   alleged herein, the plaintiff alleges, on information and belief, that there are
27   other violations and barriers on the site that relate to his disability. Plaintiff will
28   amend the complaint, to provide proper notice regarding the scope of this


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 1   lawsuit, once he conducts a site inspection. However, please be on notice that
 2   the plaintiff seeks to have all barriers related to his disability remedied. See
 3   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 4   encounters one barrier at a site, he can sue to have all barriers that relate to his
 5   disability removed regardless of whether he personally encountered them).
 6
 7
 8   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 9   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
10   Defendants.) (42 U.S.C. section 12101, et seq.)
11     27. Plaintiff re-pleads and incorporates by reference, as if fully set forth
12   again herein, the allegations contained in all prior paragraphs of this
13   complaint.
14     28. Under the ADA, it is an act of discrimination to fail to ensure that the
15   privileges, advantages, accommodations, facilities, goods and services of any
16   place of public accommodation is offered on a full and equal basis by anyone
17   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
18   § 12182(a). Discrimination is defined, inter alia, as follows:
19            a. A failure to make reasonable modifications in policies, practices,
20                or procedures, when such modifications are necessary to afford
21                goods,     services,    facilities,   privileges,   advantages,     or
22                accommodations to individuals with disabilities, unless the
23                accommodation would work a fundamental alteration of those
24                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
25            b. A failure to remove architectural barriers where such removal is
26                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
27                defined by reference to the ADA Standards.
28            c. A failure to make alterations in such a manner that, to the


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 1                maximum extent feasible, the altered portions of the facility are
 2                readily accessible to and usable by individuals with disabilities,
 3                including individuals who use wheelchairs or to ensure that, to the
 4                maximum extent feasible, the path of travel to the altered area and
 5                the bathrooms, telephones, and drinking fountains serving the
 6                altered area, are readily accessible to and usable by individuals
 7                with disabilities. 42 U.S.C. § 12183(a)(2).
 8     29. When a business provides parking for its customers, it must provide
 9   accessible parking.
10     30. Here, accessible parking has not been provided in conformance with the
11   ADA Standards.
12     31. When a business provides facilities such as door hardware, it must
13   provide accessible door hardware.
14     32. Here, accessible door hardware has not been provided in conformance
15   with the ADA Standards.
16     33. The Safe Harbor provisions of the 2010 Standards are not applicable
17   here because the conditions challenged in this lawsuit do not comply with the
18   1991 Standards.
19     34. A public accommodation must maintain in operable working condition
20   those features of its facilities and equipment that are required to be readily
21   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
22     35. Here, the failure to ensure that the accessible facilities were available
23   and ready to be used by the plaintiff is a violation of the law.
24
25   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
26   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
27   Code § 51-53.)
28     36. Plaintiff repleads and incorporates by reference, as if fully set forth


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 1   again herein, the allegations contained in all prior paragraphs of this
 2   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 3   that persons with disabilities are entitled to full and equal accommodations,
 4   advantages, facilities, privileges, or services in all business establishment of
 5   every kind whatsoever within the jurisdiction of the State of California. Cal.
 6   Civ. Code §51(b).
 7      37. The Unruh Act provides that a violation of the ADA is a violation of the
 8   Unruh Act. Cal. Civ. Code, § 51(f).
 9      38. Defendants’ acts and omissions, as herein alleged, have violated the
10   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
11   rights to full and equal use of the accommodations, advantages, facilities,
12   privileges, or services offered.
13      39. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
14   discomfort or embarrassment for the plaintiff, the defendants are also each
15   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
16   (c).)
17      40. Although the plaintiff encountered frustration and difficulty by facing
18   discriminatory barriers, even manifesting itself with minor and fleeting
19   physical symptoms, the plaintiff does not value this very modest physical
20   personal injury greater than the amount of the statutory damages.
21
22             PRAYER:
23             Wherefore, Plaintiff prays that this Court award damages and provide
24   relief as follows:
25           1. For injunctive relief, compelling Defendants to comply with the
26   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
27   plaintiff is not invoking section 55 of the California Civil Code and is not
28   seeking injunctive relief under the Disabled Persons Act at all.


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 1      2. Damages under the Unruh Civil Rights Act, which provides for actual
 2   damages and a statutory minimum of $4,000 for each offense.
 3      3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 4   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 5
 6   Dated: August 31, 2020                 CENTER FOR DISABILITY ACCESS
 7
 8                                   By:
                                     _______________________
 9
                                            Amanda Seabock, Esq.
10                                          Attorney for plaintiff
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